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WESTERN DISTRICT 0F 1"E]\U\H‘LS‘LS‘EZ5 1111
WESTERN DIVISIoN

 

CYNTHIA D. NICHOLS JUDGMENT IN A CIVIL CASE
VS

E.W. JAMES & SONS, INC. and/cr
E.W. JAMES & SONS, INC./EXCEL, CASE NO: 04-2044 Ml/P

 

The parties having settled this matter:

IT IS SO ORDERED AND ADJUDGED that, in accordance With the Order cf
Dismissal With Prejudice filed May ;§“ , 2005, this case is
DISMISSED with prejudice with each party to bear its cwn costs and
fees.

APPROVED:

MM\Q@

PHIPPS MCCALLA
TED STATES DISTRICT COURT

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Date 1 Clerk cf Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CV-02044 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

